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          Case 2:20-cv-06587-VAP-JC Document 11 Filed 07/23/20 Page 3 of 4 Page ID #:41
SECTION II1- DESIGNATION'OF LOCAL COUNSEL

 Aftergood, Aaron D.
Designee's Name (Last Name, First Name & Middle Initial)


Firm/Agency Name
                                                                     (310) 551-5221                                                      (310) 496-2840
                                                                   Telephone Number                                                    Fax Number
  Suite 200
Street Address                                                       aaron@aftergoodesq.com
                                                                   Email Address
  Los Angeles. CA 90067
City. State, Zip Code                                                239853
                                                                   Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for e practice oflaw, in which I am physically present on a regular basis to conduct business.

               Dated    -.:} '2--3 2Z)                                    :.: .ro..:.:n. :.:D: :. .:.;A...:::f:;:.,:te:.,:;rg2,.;:ood:..;:..::.._
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                                                                  Designee's Sign
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)


  Admissions (cont.)
                                                                                                                                                                 ,
  - U.S. District Court for the E.D. of Michigan - 11/28/2017 active and in good standing
  - U.S. District Court for the N.D. of Illinois - 212212018 - active and in good standing

  Pro Hac Vice Applications (cont.)
  - 18-cv-01753 Herrera v. Soothe, Inc. - 10/1/2018 - Granted
  - 18-cv-03893 - Munoz v. 7-Eleven, Inc. - 5/15/2018 - Granted
  - 18-cv-03886 - Imamura v. Eaton Corporation 5/15/2018 Granted




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G-64 (02120)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                                                         Page 3 of3
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